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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on June 14, 2024

UNITED STATES OF AMERICA
v.

EDWARD JACOB LANG,
also known as “Jake Lang,”

Defendant.

CRIMINAL NO. 21-CR-0053
MAGISTRATE NO. 21-MJ-0061

VIOLATIONS:

18 U.S.C. §§ 111(a)(1), 2

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Inflicting Bodily Injury on
Certain Officers)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, at or around 2:57 p.m., within the District of Columbia,
EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, Sgt. J.M., an officer from the Metropolitan Police Department, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT TWO

On or about January 6, 2021, at or around 3:08 p.m. to 3:13 p.m., within the District of
Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, while such person was engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections 111(a)(1) and 2)
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COUNT THREE

On or about January 6, 2021, at or around 3:18 p.m. to 3:21 p.m., within the District of
Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, Officer M.M., an officer from the United States Capitol Police
Department, while such person was engaged in and on account of the performance of official
duties, and where the acts in violation of this section involve physical contact with the victim and
the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT FOUR

On or about January 6, 2021, at or around 4:01 p.m. to 4:02 p.m., within the District of
Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, Det. W.M., an officer from the Metropolitan Police Department,
while such person was engaged in and on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections 111(a)(1) and 2)
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COUNT FIVE

On or about January 6, 2021, at or around 4:10 p.m. to 4:13 p.m., within the District of
Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, Det. P.N., an officer from the Metropolitan Police Department, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT SIX

On or about January 6, 2021, at or around 4:44 p.m. to 4:46 p.m., within the District of
Columbia, EDWARD JACOB LANG using a deadly and dangerous weapon, that is, a shield, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, Officer
T.C., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))
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COUNT SEVEN

On or about January 6, 2021, at or around 4:54 p.m. to 5:00 p.m., within the District of
Columbia, EDWARD JACOB LANG using a deadly and dangerous weapon, that is, a bat, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and cmployee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, Officer
LF., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT EIGHT

On or about January 6, 2021, at or around 4:54 p.m. to 5:00 p.m., within the District of
Columbia, EDWARD JACOB LANG using a deadly and dangerous weapon, that is, a bat, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, and inflict bodily injury on,
an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person ‘assisting such an officer and
employee, that is, Officer H.S., an officer from the Metropolitan Police Department, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury in violation of Title 18, United States Code, Sections 111(a)(1)
and (b))
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COUNT NINE

On or about January 6, 2021, within the District of Columbia, EDWARD JACOB LANG
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TEN

On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a bat and shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT ELEVEN

On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG did

knowingly engage in any act of physical violence against any person and property in a restricted
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building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a bat and shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and
(b)(1)(A))

COUNT TWELVE

On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct ofa session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT THIRTEEN

On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
